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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  April 26, 2022
                         UNITED STATES DISTRICT COURT
                                                                               Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION


DANIEL BENAVIDEZ,                           §
                                            §
        Plaintiff,                          §
                                            §
VS.                                         §    CIVIL ACTION NO. 2:21-CV-00194
                                            §
NUECES COUNTY, TEXAS, et al.,               §
                                            §
        Defendants.                         §

  PARTIAL JUDGMENT AGAINST DEFENDANT BOBBY JOE BENAVIDES

       On August 31, 2021, Plaintiff Daniel Benavidez filed his complaint against

Defendant Bobby Joe Benavides. Plaintiff alleges that he sustained personal injuries from

an incident that occurred on or about September 2, 2019, involving Defendant Benavides’s

use of excessive force in violation of the Fourth, Fifth, and Fourteenth Amendments to the

United States Constitution and constituting assault under Texas state law.         D.E. 1.

Although duly served with summons, Defendant Benavides has failed to appear and defend

this lawsuit. The Clerk of Court has entered default against him pursuant to Federal Rule

of Civil Procedure 55. D.E. 23.

       Consequently, Defendant has admitted the allegations of liability in the complaint.

Fed. R. Civ. P. 8(b)(6). On Plaintiff’s motion for default judgment (D.E. 20), the Court

enters partial judgment against Defendant Benavides as follows:

             • During the September 2, 2019 incident, Defendant Benavides was acting

                 in his individual capacity under color of law;
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               • Defendant Benavides did then and there subject Plaintiff to the

                      deprivation of the laws, privileges, or immunities secured by the Fourth,

                      Fifth and Fourteenth Amendments to the Constitution of the United States

                      by the use of force that was clearly excessive to the need, and the

                      excessiveness of which was objectively unreasonable;

               • Defendant Benavides did then and there assault Plaintiff by acts and

                      omissions that intentionally, knowingly, and recklessly caused severe

                      personal injury to Plaintiff through unconsented physical contact with

                      him;

               • Said conduct of Benavides proximately caused physical and emotional

                      injuries to Plaintiff that were the direct and immediate consequence of

                      Defendant Benavides’s wrongful acts and a natural and direct result of

                      the assault; and

               • Plaintiff is entitled to just damages upon proof thereof at trial.

The Court carries with the case Plaintiff’s unliquidated claim for damages, pending proof

thereof at trial.

                    ORDERED on April 26, 2022.

                                                      _______________________________
                                                      NELVA GONZALES RAMOS
                                                      UNITED STATES DISTRICT JUDGE




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